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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY

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                                                                  Chapter 11
         In Re:
         LTL MANAGEMENT, LLC,1                                    Case No.: 23-12825 (MBK)

                                 Debtor.                          Honorable Michael B. Kaplan


         SECOND POST DISMISSAL MONTHLY FEE STATEMENT OF MASSEY & GAIL,
          LLP, SPECIAL COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS
            FOR THE PERIOD SEPTEMBER 1, 2023 THROUGH SEPTEMBER 30, 2023


             MASSEY & GAIL, LLP (“Massey Gail”) submits this Second Post Dismissal Monthly

     Fee Statement for Services Rendered and Expenses Incurred as Special Counsel to the Official

     Committee of Talc Claimants (the “Statement”) for the period commencing September 1, 2023

     and ending September 30, 2023 (the “Second Post Dismissal Statement Period”), pursuant to the

     Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

     Retained Professionals by Order of this Court entered on May 22, 2023 (the “Interim

     Compensation Order”).

             The billing invoices for the Statement Period are annexed hereto as Exhibit “A”. These

     invoices detail the services performed. The fees sought within Statement Period are as follows:


             Fees               Less 20%             Fee Payment Requested             Expense Reimbursement
                                                                                               (100%)

          $141,996.00          ($28,399.20)                 $113,596.80                             $0.00




     1
       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
     Street, New Brunswick, New Jersey 08933.

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             WHEREFORE, Massey Gail respectfully requests interim payment of fees for this

     Statement Period in the sum of $113,596.80 in accordance with the terms of the Interim

     Compensation Order.


                                             MASSEY & GAIL, LLP
                                             Special Counsel to Official Committee
                                             of Talc Claimants


                                             By: /s/ Jonathan S. Massey______________
                                                JONATHAN S. MASSEY
     Dated: October 19, 2023




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                                     EXHIBIT A
                                   TIME DETAIL




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